                                                                                                                                   Page I of I
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                                                         REGISTER OF ACTIONS
                                                                 CASE No. 841337-1612

 Cynthia Douglas vs. Metropolitan Lloyds Insurance Company Of Texas        §                   Case Type:    Contract:Consumer/Commerclai/Debt
                                                                           §                   Date Filed:   12/06/2016
                                                                           §                     Location:   242nd District Court
                                                                           §
                                                                           §

                                                                   PARTY INFORMATION

                                                                                                                      Attorneys
 Defendant      Metropolitan Lloyds Insurance Company of                                                              Dennis D. Conder
                Texas                                                                                                  Retained
                 Dallas, TX 75201-3140                                                                                214-748-5000(W)


 Plaintiff      Douglas, Cynthia                                                                                      JamesWWillis
                                                                                                                       Retained
                                                                                                                      713-655-1405(W)


                                                            EVENTS & Olmt:ns OF THE COURT

            OTIIEH EVENTS AND HEARINGS
 12/06/2016 Civil Case Information Sheet
 12/06/2016 E- flied Original Petition Document
 12/06/2016 Request
 12/06/2016 Certified Mail- DC
 12/06/2016 Citation
                Metropolitan lloyds Insurance Company of Texas       Unserved
 12/15/2016 Answer
 12/30/2016 Rule 11 Agreement


                                                                 FINANCIAL lNFORMA TION




              Plaintiff Douglas, Cynthia
              Ta tal Financial Assessment                                                                                                   359.00
              Total Payments and Credits                                                                                                    359.00
              Balance Due as of 01/04/2017                                                                                                    0.00

 12/06/2016 Transaction Assessment                                                                                                          359.00
 12/06/2016 E-Fi!e Electronic Payment Receipt# 2016-163396                                Douglas, Cynthia                                 (359.00)




http://txhai eodyprod. ty Ierhost.net/Pub licAccess/CaseDetail.aspx ?Case!D= I3 925 00                                                  I/4/20I7
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                                                                                                     12/6/2016 3:00:45 PM

                                                                         Co
                                                                                                              Carla Cannon


                                                                             P~/ 1.,
                                                                                                 a   e vounty Distncl Clerk
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                                                                                                                              .


                                    C:AUSENoB41337-1612                                     -.         .

 C:YNTH.lA DOUGLAS.                                 §          IN THE DISTRICT COURT OF
                                                    §
        Plaintiff,                                  §
                                                    s
                                                    ~
 w.                                                 §
                                                   §           .1-JALE COUNTY, TEXAS
METROPOLITAN LLOYDS INSURANCE                      §
COMPANY OF TEXAS,                                  §

        Defcndanr.
                                                   ~
                                                   §
                                                    '          _2_4_2n_d_JUDICIAL DISTRICT

                             PLAINTJI'I''S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        Cynthia Douglas (''Ms. Douglas"), Plaintiff herein, files this Original Petition against

Defendant Metropolitan Lloyds Insurance Company of Texas ('''Metropolitan") and, in support of

her causes of action, would respectfully show the Court the following:

                                               I.
                                          THE PARTIES

        I.      C)o1thia Douglas is a Tc·xas resident who resides in Hale Counly, Texas.

        2.      Metropolitan is an insurance company doing business in the State of Texas which

may be served ihrough its registered ngcnt :l:or service of process in the Stal'e of Texas. CT

Corporation Sysrem, via certified mail a I .1999 Bryan Street, Suite 900, Da lias, TX 7520 J -3 140.

                                               H.
                                           DlSCOVKRY

       3.      This case is intended to be governed by Discovery Level 2.
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                                                      Ill.
                                        CLAIM FOR RELIEF

           4.     The damages sought are within the jurisclictional limits of this court. Plaintiff

 currently seeks monetary relief over $100,000, but not more than $200,000, including damages

 of any kind, penalties, costs, expenses, pre-judgment interest, and attorney's fees.

                                                      IV.
                                  JURISDICTION AND VENUE

           5.     This court bas subject matter jurisdiction of this cause of action because it

involves an amount in controversy in excess of the minimum jurisclictional limits of this Court.

No cliversity of citizenship exists in this matter.

          6. ·   Venue is proper in Hale County because all or a substantial part of the events or

omissions giving rise to the claim occurred in Hale County. TEX. CJV. PRAc & REM CODE §

15.002(a)( 1). In particular, the loss at issue occurred in Hale County.

                                                      v.
                                    FACTUAL BACKGROUND

          7.     Ms. Douglas is a named insured under a property insurance policy issued by

Metropolitan.

          8.     On or about May 8, 2015 a storm hit the Plainview, Texas area, damaging Ms.

Douglas's house and other property. Ms. Douglas subsequently filed a claim on her insurance

policy.

          9.     Defendant improperly denied and/or underpaid the claim.

          10.    The adjuster assigned to the claim conducted a substandard investigation and

inspection of the property, prepared a repoti that failed to include all of tbe damages that were

observed during the inspection, and undervalued the damages observed during the inspection.

          11.    This unreasonable investigation led to the underpayment of Plaintiffs claim.


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         12.    Moreover, Metropolitan performed an outcome-oriented investigation of Plaintiffs

 claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiffs losses on the

 property.

                                            VI.
                                     CAUSES OF ACTION

        13.     Each of the foregoing paragraphs is incorporated by reference in the following:

A.      Breach of Contract

        14.     Metropolitan bad a contract of insurance with Plaintiff. Metropolitan breached

the terms of that contract by wrongfully denying and/or underpaying the claim and Plaintiff was

damaged thereby.

B.      Prompt Payment of Claims Statute

        15.    The failure of Metropolitan to pay for the losses and/or to follow the statutory

time guidelines for accepting or denying coverage constitutes a violation of Section 542.051 et

seq. of the Texas Insurance Code.

        16.    Plaintiff, therefore, in addition to Plaintiffs claim for damages, is entitled to 18%

interest and attomeys' fees as set forth in Section 542.060 of the Texas Insurance Code.

C.     Bad Faith/Deceptive Trade Practices Act ("DTPA")

       17.     Defendant is required to comply with Chapter 541 of the Texas Insurance Code.

       18.     Defendant violated Section 541.051 of the Texas Insurance Code by:

               (1)    making statements misrepresenting the terms and/or benefits of the policy.

       19.     Defendant violated Section 541.060 by:

               (1)    misrepresenting to Plaintiff a material fact or policy provision relating to

                      coverage at issue;




                                                3
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               (2)     failing to attempt in good faith to effectuate a prompt, fair, and equitable

                       settlement of a claim with respect to which the insurer's liability had

                       become reasonably clear;

               (3)    failing to promptly provide to Plaintiff a reasonable explanation of the

                      basis in the policy, in relation to the facts or applicable law, for the

                      insurer's denial of a claim or offer of a compromise settlement of a claim;

               (4)    failing within a reasonable time to affirm or deny coverage of a claim to

                      Plaintiff or submit a reservation of rights to Plaintiff; and

               (5)    refusing to pay the claim without conducting a reasonable investigation

                      with respect to the claim;

        20.    Defendant violated Section 541.061 by:

               (I)    making an untrue statement of material fact;

               (2)    failing to state a material fact necessary to make other statements made not

                      misleading considering the circumstances under which the statements

                      were made;

              (3)     making a statement in a manner that would mislead a reasonably prudent

                      person to a false conclusion of a material fact;

              (4)     making a material misstatement of law; and

              (5)     failing to disclose a matter required by law to be disclosed.

       21.    At all material times hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendant.

       22.    Defendant has violated the Texas DTPA in the following respects:




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                 ( 1)     Defendant represented that the agreement confers or involves rights,

                          remedies, or obligations which it does not have, or involve, or which are

                          prohibited by law;

                 (2)      Metropolitan failed to disclose information concerning goods or services

                          which was known at the time of the transaction when such failure to

                          disclose such information was intended to induce the consumer into a

                          transaction that the consumer would not have entered into had the

                          infonnation been disclosed;

                 (3)      Metropolitan, by accepting insurance premiums but refusing without a

                        reasonable basis to pay benefits due and owing, engaged in an

                          unconscionable action or course of action as prohibited by Section

                          !7.50(a)(1)(3) of the DTPA in that Metropolitan took advantage of

                        Plaintiff's lack of knowledge, ability, experience, and capacity to a grossly

                        unfair degree, that also resulted in a gross disparity between the

                        consideration paid in the transaction and the value received, in violation of

                        Chapter 541 of the Texas Insurance Code.

          23.    Defendant knowingly committed the acts complained of. As such, Plaintiff is

entitled to exemplary and/or treble damages pursuant to the DTPA and Texas Insurance Code

Section 541.152(a)-(b).

D.        Attorneys' Fees

          24.   Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendant and agreed to pay reasonable attorneys' fees and expenses through trial and any

appeal.




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         25.     Plaintiff is entitled to reasonable and necessary attorney's fees pursuant to Texas

 Civil Practice and Remedies Code Sections 38.001-38.003 because she is represented by an

 attorney, presented the claim to Defendant, and Defendant did not tender the just amount owed

 before the expiration of the 30'" day after the claim was presented.

        26.     Plaintiff further prays that she be awarded all reasonable attorneys' fees incurred

 in prosecuting her causes of action through trial and any appeal pursuant to Sections 541.152 and

 542.060 of the Texas Insurance Code.

                                                VII.
                                  CONDITIONS PRECEDENT

        27.     All conditions precedent to Plaintiffs right to recover have been fully perfo1med,

or have been waived by Defendant.

                                                VIII.
                                    DISCOVERY REQUESTS

        28.     Pursuant to Rule 194, you are requested to disclose, within fifty (50) days after

service of this request, the information or material described in Rule 194.2(a)-(l).

        29.     You are also requested to respond to the attached interrogatories, requests for

production, and requests for admissions within fifty (50) days, in accordance with the

instructions stated therein.

                                                r.x.
                                            PRAYER

        WHEREFORE, PREMISES CONSIDERED, Cynthia Douglas prays that, upon fmal

hearing of the case, sheTecover all damages from and against Defendant that may reasonably be

established by a preponderance of the evidence, and that Ms. Douglas be awarded attorneys' fees

through trial and appeal, costs of court, pre-judgment interest, post-judgment interest, and such




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 other and fwther r·elief. general or specinl, at law or in equity, to which Ms. Douglas may show

 hcrscl r to be jm;tly entitled.


                                             Rcspecrt\rlly submitted,

                                             DALY & BLACK,    P.C.

                                             By:    lsi James Willis
                                                    T<ichard .D. Daly
                                                    TI3A No. 007%429
                                                    rdaly@dalvblnck.com
                                                    ecfs@dalyblack.com
                                                    James Willis
                                                    TBA No. 24088654
                                                    jwi II is<i~da lvblack.com
                                                    22.11 Norfolk St., Suite 800
                                                    l·louston, Texas 77098
                                                    713.655. 1405-Telephone
                                                    713.655.1587-Fax

                                                    ATTO.RNEYS FCm PLAINTIFF
                                                    CYNTHIA DOUGLAS




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                 PLAINTII'F'S FIRST SET OF INTERROGATORIES,
           REQUESTS FOR PRODUCTION AND REQUESTS FOR ADMISSIONS

          COMES NOW Plaintiff in the· above-:;tykd and ntllnbet·ed cause, and requests that

 Defendant (I) answer the following discovery requests separately and fully in writing under oath

 within 30 days of service (or within 50 days of service if the discovery was served prior to the

 date an answer is due); (2) produce responsive documents to the undersigned counsel within the

 same time period; and (3) serve its answers to these discovery requests within the same rime

 period to Plaintiff by and through her attorneys of record: Richard D. Daly, John 'Black. Ana M.

 Enc and William X. King, Daly & Black, P.C, 2211 Norfolk St, Suite 800, Houston, Tcxc<s

 77098.


                                             Respectfully submilred,

                                             DALY & BLACK, P.C.

                                             By:    /s/ James Willis
                                                    "Richard D. Daly
                                                    TBA No. 00796429
                                                    rdal v(iilclal vbl ac.k.com
                                                    ccfs@dal yblack.com
                                                    James Willis
                                                    TBA No. 24088654
                                                    jwillis@dalyblack.corn
                                                    2211 Norfolk St., Suil·c 800
                                                    Houston, Texas 77098
                                                    713.655.1405-Telephon.e
                                                    7 J 3.655. 1587-fax

                                                    ATTORNEYS FOR PLAINTIFF
                                                    CYNTHIA DOUGLAS
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                                 CERTIFICATE OF SERVICE

        I hereby certify that I sent a true and correct copy of the attached discovery requests to
 Defendant(s) as an attachment to the petition. Therefore, Defendant would have received it
 when it was served with the citation.

                                                     Is! James Willis
                                                     James Willis




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                                      INSTRUCTIONS


    A.    These Responses call for your personal and present knowledge, as well as the present
          knowledge of your attorneys, investigators and other agents, and for information
          available to you and to them.

    B.    Pursuant to the applicable rules of civil procedure, produce all documents responsive
          to these Requests for Production as they are kept in the usual course of business or
          organized and labeled to correspond to the categories in the requests within the time
          period set forth above at Daly & Black, P.C.

    C.    If you claim that any document or information which is required to be identified or
          produced by you in any response is privileged, produce a privilege log according to
          the applicable rules of civil procedure.

         I.   Identify the document's title and general subject matter;
         2.   State its date;
         3.   Identify all persons who participated in its preparation;
         4,   Identify the persons for whom it was prepared or to whom it was sent;
         5.   State the nature of the privilege claimed; and
         6.   State in detail each and every fact upon which you base your claim for privilege.

    D.   If you claim that any part or portion of a document contains privileged information,
         redact only the part(s) or portion(s) of the document you claim to be privileged.

    E.   If you cannot answer a particular Interrogatory in full after exercising due diligence to
         secure the information to do so, please state so and answer to the extent possible,
         specifying and explaining your inability to answer the remainder and stating whatever
         information or knowledge you have concerning the unanswered portion.

    F.   You are also advised that you are under a duty lo seasonably amend your responses if
         you obtain information on the basis of which:

         I. You know the response made was incorrect or incomplete when made; or
         2. You know the response, though correct and complete when made, is no longer
            true and complete, and the circumstances




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                                      INSTRUCTIONS


    A.   These Responses call fur your personal and present knowledge, as well as the present
         knowledge of your attorneys, investigaiot•s and other agents, and for information
         available to you and to them.

    B.   Pursuant to the applicable rules of civil procedure, produce all documents responsive
         to these Requests for Production as they are kept in the usual course of business or
         organized and labeled to correspond to the categories in the requests within the time
         period set forth above at Daly & Black, P.C.

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   F.    You are also advised that you are under a duty to seasonably amend your responses if
         you obtain information on the basis of which:

         I. You know the response made was incorrect or incomplete when made; or
         2. You know the response, though correct and complete when made, is no longer
            true and complete, and the circumstances




                                              3
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                                         DEFINITIONS

     A.    ''Defendant," "You," "Your(s)," refers to Metropolitan Lloyds Insurance Company
           of Tex!Ul, its agents, representatives, employees and any other entity or person ucting
           on its behalf.

     B.    "Plaintifr' refers to the named Plaintiff in the above-captioned $uit.

     C.   "The Propcrty(ies)" refers to the property or properties located at the address(es)
          covered by the Policy.

    D.    "The Policy" refers to the policy issued to Plaintiff by the insurer and at issue in this
          lawsuit.

    E.    "The C!aim(s)" means the claim for insurance benefits submitted by Plaintiff and at
          issue in this lawsuit, or in a prior claim, as the context may dictate.

    F.    "Date of Loss" refers to the date(s) of loss identified in Plaintiff's live
          petition/complaint or other written or oral notice, or otherwise assigned to the claim
          by the insurer.

    G.    "Handle" or "Handled" means investigating, adjusting, superv•smg, estimating,
          managing, settling, approving, supplying information or othetwise performing a task
          or work with respect to the claim(s) at issue in this lawsuit, excluding purely
          ministerial or clerical tasks.

    H.    "Lawsuit" refers to the above styled and captioned case.

    I.    "Communication" or "communications~ shall mean and refer to the transmission or
          exchange of information, either orally or in writing, and includes without limitation
          any conversation, letter, handwritten notes, memorandum, inter or intraoffice
          correspondence, electronic mail, text messages, or any other electronic transmission,
          telephone call, telegraph, telex telecopy, facsimile, cable, conference, tape recording,
          video recording, digital recording, discussion, or face-to-face communication.

   J.     The term "Document" shall mean all tangible things and data, however stored, as set
          forth in the applicable rules of civil procedure, including, but not limited to all
          original writings of any nature whatsoever, all prior drafts, all identical copies, all
          nonidentical copies, correspondence, notes, letters, memoranda of. telephone
          conversations, telephone messages or call slips, interoffice memoranda, intraoffice
          memoranda, client conference reports, files, agreements, contracts, evaluations,
          analyses, records, photographs sketches, slides, tape recordings, microfiche,
          communications, printouts, reports, invoices, receipts, vouchers, profit and loss
          statements, accounting ledgers, Joan documents, liens, books of accounting, books of
          operation, bank statements, cancelled checks, leases, bills of sale, maps, prints,
          insurance policies, appraisals, listing agreements, real estate closing documents,



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             studies, summaries, minutes, notes, agendas, bulletins, schedules, diaries, calendars,
             logs, announcements, instructions, charts, manuals, brochures, schedules, pr·ice lists,
             telegrams, teletypes, p[1otographic matte1·, sound reproductions, however recorded,
             whether still on tape or transcribed to writing, computer tapes, diskettes, disks, all
             other methods Ol' means of stol'ing data, and any other documents. ln all cases where
             originals, prior drafts, identical copies, or nonidentical copies are not available;
             "document" also means genuine, true and correct photo or other copies of originals,
             prior drafts, identical copies, or nonidentical copies. "Document" also refers to any
             other mated a I, including without limitation, any tape, computer program or electronic
             data storage facility in or on which any data or information has been written or
             printed or has been temporarily or permanently recorded by mechanical,
             photographic, magnetic, electronic or other means, and including any materials in or
             on which data or information has been recorded in a manner which renders in
             unintelligible without machine processing.

    K.       The term "referring" or "relating" shall mean showing, disclosing, averting to,
             comprising, evidencing, constituting or reviewing.

    L.       The singular and masculine form of any noun or pronoun includes the plural, the
             fern inine, and the neuter.

    M.       The terms "identification," "identify," and "identity" when used in reference to:

          I. Natural Persons: Means to state his or her full name, residential address, present or
              last known business address and telephone number, and present or last known
              position and business afflliation with you;
         2. Corporate Entities: Means to state its full name and any other names under which it
              does business, its form or organization, its state of incorporation, its present or last
              known address, and the identity of the officers or other persons who own, operate, or
              control the entity;
         3. Documents: Means you must state the number of pages and nature of the document
              (e.g. letter or memorandum), its title, its date, the name or names of its authors and
              recipients, its present location and custodian, and if any such document was, but no
              longer is, in yow· possession or control, state what disposition was made of it, the date
             thereof, and the persons responsible for making the decision as to such disposition;
         4. Communication: Requires you, if any part of the communication was written, to
              identify the document or documents which refer to or evidence the communication
             and, to the extent that the communication was non-written, to identify each person
             participating in the communication and to state the date, manner, place, and substance
             oft he communication; and
         5. Activity: Requires you to provide a description of each action, occun·ence,
             transaction or conduct, the date it occurred, the location at which it occurred, and the
             identity of all persons involved.

   N.       The term "Claim File" means the claim files and "field file(s)," whether kept in
            paper or electronic format, including but not limited to all documents, file jackets, file



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           notes, claims diary or journal entries, log notes, handwritten notes, records of oral
           communications, communications, correspondence, photographs, diagrams,
           estimates, reports, recommendations, invoices, memora,da and drnfts of documents
           regarding the Claim.

    0.     The term "Undenvritiog File" means the entire file, including all documents and
           information used for underwriting purposes even if you did not rely on such
           documents or information in order to make a decision regarding insuring Plaintiff's
           Property.



                             NOTICE OF AUTHENTICATION

        You are advised that pursuant to Tex. R. Civ. P. 193.7, Plaintiff intends to use all
 documents exchanged and produced between the parties, including but not limited to
 correspondence and discovery responses during the trial of the above"entitled and numbered
 cause.




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                 INTERROGATORIES TO DEFENDANT METROPOLITAN

  INTERROGATORY NO.1:
  Identify all persons answering or supplying any information in answering these interrogatories.

         ANSWER:

  INTERROGATORY NO.2:
  Identify all persons who were involved in evaluating Plaintiff's claim and provide the following
  information for each person you identify:

         a.     their name and job title(s) as ofthe Date of Loss;
         b.     their employer; and
         c.     description of their involvement with Plaintiff's Claim.

         ANSWER:

  INTERROGATORY NO.3:
  If you contend that the some or all of the damages to the Property were not covered losses under
  the Policy, desci•ibe:

         a.     the scope, cause and origin of the damages you contend are not covered losses
                under the Pol icy; and
         b.     the ten.u(s) or exclusion(s) of the Policy you relied upon in support of your
                decision regarding the Claim.

         ANSWER:

 INTERROGATORY NO.4:
 State whether the initial estimate you issued was revised or reconciled, and if so, state what was
 changed and who did it.

         ANSWER:

 INTERROGATORY NO.5:
 If you contend that Plaintiff did not provide you with requested information that was required to
 properly evaluate Plaintiffs Claim, identify the information that was requested and not provided,
 and the dates you made those request(s).

        ANSWER:

 INTERROGATORY NO.6:
 If you contend that Plaintiff's acts or omissions voided, nullified, waived or breached the Policy
 in any way, state the factual basis for your contention(s).

        ANSWER:


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 INTERROGATORY NO.7:
 If you contend that Plaintiff failed to satisfy a condition precedent or covenant of the Policy in
 any way, state the factual basis for your contention(s).

         ANSWER:

 INTERROGATORY NO.8:
 Identify the date you first anticipated litigation.

         ANSWER:

 INTERROGATORY NO.9:
 State the factual basis for e<!ch of your affirmative defenses.

         ANSWER:

 INTERROGATORY NO. 10:
 If you contend that Plaintiff failed to provide proper notice of the claim made the basis of this
 lawsuit, describe how the notice was deficient, and identify any resulting prejudice.

        ANSWER:

 INTERROGATORY NO. 11:
 If you contend that Plaintiff failed to mitigate damages, describe how Plaintiff failed to do so,
 and identify any resulting prejudice.

        ANSWER:

 INTERROGATORY NO. 12:
 Identify all items on the claim made the basis of this Lawsuit to which Defendant applied
 depr·eci atiou, stating for each item the critet·ia used and the age of the item.

        ANSWER:




                                                       8
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           REQUEST FOR PRODUCTION TO DEFENDANT METROPOLITAN

 REQUEST FOR PRODUCTION NO. 1
 Produce a certified copy of all Policies you issued to Plaintiff tor the Property that were in effect
 on th(l Date of Loss.

        RESPONSE:

 REQUEST FOR PRODUCTION NO. 2
 If you contend that any prior claims Plaintiff submitted for damages to the Pro petty affected your
 decision in relation to the Claim at issue, produce a certified copy of all policies you issued to
 Plaintiff forthe Property that were in effect during the handling of those claim( s).

        RESPONSE:

 REQUEST FOR PRODUCTION NO.3
 Produce a copy of the declarations pages you issued for the Property in the three (3) years
 preceding the Date of Loss.

        RESPONSE:

 REQUEST FOR PRODUCTION NO.4
 Produce yow· complete Underwriting File for Plaintiff's policy of insurance with you.

        RESPONSE:

 REQUEST FOR PRODUCTION NO.5
 Produce the complete Claim File including all documents and communications regarding the
 Claim.

        RESPONSE:

 REQUEST FOR PRODUCTION NO.6
 Produce the Claim Files regarding the Claim of any third-party you hired and/or retained to
 investigate, consult on, handle and/or adjust the Claim.

       RESPONSE:




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  REQUEST FOR l'RODUCTION NO.7
  If you contend that any prior claims Plaintiff submitted for dam<1ges to the Property affected your
  decision in relation to the Claim at issue, i'roduce the complete Claim File regarding those prior
  claim(s).

         RESPONSE:

  REQUEST FOR PRODUCTION NO.8
  Produce all documents l'laintiff(or any other person) provided to you related to the Claim or the
  Property.

         RESPONSE:

 REQUEST FOR PRODUCT! ON NO.9
 Produce all documents you provided to Plaintiff (or any other person) related to the Claim or the
 Property.

         RESPONSE:

 REQUEST FOR PRODUCTION NO. 10
 Produce all documents (including reports, surveys, appraisals, damage estimates, proof of loss,
 or adjuster's report(s)) referring to the Claim, the Property or damage to the Property.

         RESPONSE:

 REQUEST FOR PRODUCTION NO. 11
 Produce color copies of all visual reproductions of the Property taken either prior to, at the time
 of, or after the Date of Loss (including diagrams, drawings, photographs, video records,
 videotapes, or other infom1ation).

        RESPONSE:

 REQUEST FOR PRODUCTION NO. 12
 The file from the office of Plaintiffs insurance agent concerning Plaintiffs Property.

        RESPONSE:




                                                 10
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 REQUEST FOR PRODUCTION NO. 13
 Produce all communications between any of your cl'litns personnel, claims handlers, field
 adjusters, office adjusters, and their <)irect or indirect supervisors related to the investigation,
 handling, and settlement of Plaintiff's Claim.

         RESPONSE:

 REQUEST FOR PRODUCTION NO. 14
 Produce all written communications you sent to, or received from, any independent adjusters,
 engineers, contractors, estimators, consultants or other third-parties who participated in
 investigating, handling, consulting on, and/or adjusting Plaintiff's Claim.

        RESPONSE:

 REQUEST FOR PRODUCTION NO. 15
 Produce a[! written and/or electronic communications you sent to, or received from, Plaintiff's
 insurance agent rolated to the Claim, the Prop"'rty, the Plaintiff or this Lawsuit.

        RESPONSE:

 REQUEST FOR PRODUCTION NO. 16
 Produce all written and/or electronic communications you sent to, or received from, any local,
 state, or governmental entity related to the Claim, the Property, the Plaintiff or this Lawsuit.

        RESPONSE:

 REQUEST FOR PRODUCTION NO. 17
 Produce all written and/or electronic communications you sent to, or received, from Plaintiff
 and/or any other named insured on the Policy related to the Cluim, the Property, or this Lawsuit.

        RESPONSE:

REQUEST FOR PRODUCTIONN0.18
Produce the personnel Jile for anyone you (or an adjus6ng firm) assigned to participate in
evaluating damage to Plaintiffs Property, including performance reviews/evaluations. This
request is limited to the three (3) years prior to the Date of Loss and one (I) year after the Date
of Loss.

        RESPONSE:

REQUI~ST FOR PRODUCTION NO. 19
Produce your claim handling manual(s) (including operating guidelines) in effect on the Date of
Loss related to your claims practices, procedures and standards for property losses and/or wind
and hail storm claims, for persons handling claims on your behalf.

        RESPONSE:



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 REQUEST FOR PRODUCTION NO. 20
 Produce your propetty claims training manual and materials     it}   offect on the Date of Loss, for
 persons handling, investigating and adjusting claims.

        RESPONSE:

 REQUEST FOR PRODUCTION NO. 2l
 Produce all bulletins, notices, directives, memoranda, internal newsletters, publications, letters
 and alerts directed to all persons acting on your behalf that were issued from six (6) months
 before and after the Date of Loss related to the handling of wind or hail storm claims in
 connection with the storm at issue.

        RESPONSE:

 REQUEST FOR l'RODUCTION NO. 22
 Produce the contt·act(s), agreernent(s) and/or written understanding(s) with any independent
 11djusters or adjusting firms who you retained to investigate, bundle and/or adjust Plaintiff's
 Claim on your behalf that were in effect on the Date of Loss.

        RESPONSE:

 REQUEST FOR PRODUCT£ ON NO. 23
 Produce the contract(s), agreement(s) and/or written nnderstanding(s) with any engineers and/or
 engineering firms you retained to investigate, handle and/or adjust Plaintiffs Claim on your
 behalf that were in effect at the time of his/her investigation, handling and/or adjustment of
 Plaintiffs claim, either pre or post-lawsuit.

        RESPONSE:

 REQUEST FOR PRODUCTION NO. 24
 Produce the "Pay sheet," "Payment Log," or list of payments made on Plaintiff's Claim,
 including all indemnity, claim expenses and payments made to third-parties.

       RESPONSE:

R.E:QUEST FOR PRODUCTlON NO. 25
Produce all billing statements, including billing detail, showing the amounts you paid or for
which you were billed by any independent adjusters or adjusting firms who inspected Plaintiff's
Property in connection with the Claim.

       RESPONSE:




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 RJWUEST FOR PRODUCTION NO. 26
 Produce all billing detail showing the amounts,you paid or for which you were billed by any
 engineer and/or engineering finn who inspected Plaintiff's Property in connection with the
 Claim, whether pre or post-lawsuit.

        RESPONSE:

 REQUEST FOR PRODUCTION NO. 27
 Produce all estimates, reports or memoranda, including drafts of the same, created for you or by
 any independent adjusters or adjusting finns in col\IIcctiou with the Claim.

        RESPONSE:

 REQUEST FOR PRODUCTION NO. 28
 Produce all estimates, reports, or memoranda, including drafts of the same, created for you by
 any engineers and/or engineering firms in connection with the Claim.

        RESPONSE:

 REQUEST FOR PRODUCTION NO. 29
 Produce all statements given by anyone, oral or written, to you or any of your agents, related to
 Plaintiff's Claim and/or any issue in Plaintiffs live petition

        RESPONSE:

 REQUEST FOR PRODUCTION NO. 30
 Pursuant to the applicable rules of evidence, produce all documents evidencing conviction of a
 crime which you intend to use as evidence to impeach any party or witness.

        RESPONSE:




                                               13
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 REQUEST FOR PRODUCTION NO. 3l
 Produce all documents you identified, referred to, or relied upon in          ~nswering   Plaintiff's
 interrogatories.

         RESPONSE:

 REQUEST FOR PRODUCTION NO. 32
 Produce all non-privileged documents you identified, referred to, or relied upon in developing,
 answering and/or formulating your Answer and/or Affirmative Defenses to Plaintiff's live
 petition.

         RESPONSE:

 REQUEST FOR PRODUCTION NO. 33
 Produce copies of all documents you intend to offer as evidence at the trial of this matter.

         RESPONSE:

 REQUEST FOR PRODUCTION NO. 34
 Produce copies of all documents relating to your declaration of the storm alleged to have caused
 damage to Plaintiff's ·Property as a "catastrophe."

         RESPONSE:

 REQUEST FOR PHODUCTION NO. 35
 Produce copies of your engagement letter/fee agreement between you (or whatever entity or
 person is paying your :morney's fee bills) and your attorneys in this matter.

        RESPONSE:

 REQUEST FOH PRODUCTION NO. 36
 Produce copies of your attorney's[s'] fee biliB in this matter.

        RESPONSE:

 REQUEST FOR PRODUCTION NO. 37
 lfthis claim involves reinsurance, produce copies of the policy or agreement pertaining to that
 reinsw·ance.

        RESPONSE:

REQUEST FOR PRODUCT! ON NO. 38
If an attorney was involved in evaluating payment or coverage of Plaintiff's Claim pre-snit,
provide all documents relating to that evaluation or recommendation.

        RESPONSE:


                                                   14
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            REQUEST FOR ADMISSIONS TO DEFENDANT METROPOLITAN

 REQUEST FOR ADMISSION NO.1:
 Admit that on Date of Loss the Property sustained damages caused by a windstorm.

         RESPONSE:

 REQUEST l<OR ADMISSION NO.2:
 Admit that on Date of Loss the Property sustained damages caused by a hailstorm

         RESPONSE:

 REQUEST FOR ADMISSION NO.3:
 Admit that a> of the Date of Loss the Policy was in full force and effect.

         RESPONSE:

 REQUEST FOR ADMISSION NO.4:
 Admit that as of the Date of Loss all premiums were fully satisfied under the Policy.

        RESPONSE:

 REQUEST FOR ADMISSION NO.5:
 Admit that the Policy is a replacement cost value policy.

        HESl'ONSE:

 REQUEST FOR ADMISSION NO.6:
 Admit that the Policy is an actual cash value policy.

        RESl'ONSE:

 REQUEST FOR ADMISSION NO. 7: .
 Admit that aside from the Claim at issue, Plaintiff has never previously submitted a claim to you
 for damage to the Propeliy.

        RESPONSE:




                                                 15
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 REQUEST FOR ADMISSJON NO. 8:
 Admit that you did not request a Swon1 Proof of Loss from Plaintiff in connection with the
 Claim at issue.

        RESPONSE:

 REQUEST FOR ADMISSION NQ. 9:
 Admit that you did not request a Sworn Proof of Loss from any other named insured on the
 Policy in co1mection with the Claim at issue.

        RESPONSE:

 REQUEST FOR ADMISSION NO. 10:
 Admit that Plaintiff timely submitted the Claim.

        RESPONSE:

 REQUEST FOR ADIVTISSION NO. 11:
 Admit that your decision to deny or partially deny Plaintiff's Claim was made in whole or in part.
 on the basis that third parties were responsible for causing damages to the Property.

        RESPONSE:

 REQUEST FOR ADMISSION NO. 12:
 Admit that Defendant's decision to deny or partially deny Plaintiffs Claim was made in whole
 or in part on the basis that the claimed damages are not covered by the Policy.

        R£SPONSE:

 REQUEST FOR ADMISSION NO. 13:
 Admit that Defendant's decision to deny or partially deny Plaintiffs Claim was made in whole
 or in part 011 the timeliness of the Claim's submission.

        RESPONSE:




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 REQUEST FOR ADMISSION NO. 14:
 Admit that you depreciated the costs  of
                                      labor when determining the actual cash value of the
 Claim at issue.

         RESPONSE:

 REQUEST FOR ADMISSION NO. 15:
 Admit that the ac\.juster assigned to investigate the Claim did not review the underwriting file at
 any time durittg the adjustment of the Claim.

        RESPONSE:

 REQUEST FOR ADMISSION NO. 16:
 Admit that Ute Claim was reviewed by persons olhcr than people who actually inspected the
 Property.           ·

        RESPONSE:

 REQUEST FOR ADMISSION NO. 17:
 Admit that you reinsured the risk under Plaintiff's Policy.

        RF.SJ>ONSE:




                                                 17
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                                                                                             12/15/2016 2:23:57 PM
                                                                                                      Carla Cannon
                                                                                           Hale County District Clerk
                                                                                           By:~~
                                     CAUSE NO. B41337-1612

 CYNTHIA DOUGLAS                                   §      1N THE DISTRICT COURT
                                                   §
         Plaintiff,                                §
                                                   §
 v.                                                §
                                                  §       HALE COUNTY, TEXAS
 METROPOLITAN LLOYDS                              §
 INSURANCE COMPANY OF TEXAS,                      §
                                                  §
         Defendant.                               §       242N° JUDICIAL DISTRICT COURT

                      DEFENDANT METROPOLITAN LLOYDS INSURANCE
                         COMPANY OF TEXAS' ORIGINAL ANSWER

 TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Metropolitan Lloyds Insurance Company of Texas, ("Defendant"), and

 files this Original Answer, and in support thereof would respectfully show this Honorable Court

 the following:

                                     I. GENERAL DENIAL

        Defendant denies all and singular, each and every allegation contained in Plaintiff':;

Original Petition, and says that the same are not true in whole or in part, and demands strict proof

thereof by a preponderance of the evidence.

                               II. AFFIRMATIVE DEFENSES

        Pleading in the affhmative, pursuant to Rule 94 of the Texas Rules of Civil Procedure,

Defendant alleges the following affirmative defenses:

       Defendant asserts that any claims for punitive/exemplary damages are governed and

limited by Chapter 4 I of the Texas Civil Practice & Remedies Code, including but not limited to,

§§ 41.003, 41.004, 41.006, 41.007 and 41.008.




DIWENDANT METROPOLITAN LLOYDS INSURANCE
COMPANY OF TEXAS' ORIGINAL ANSWER- PAGE 1
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        Defendant further asserts that punitive/exemplary damages cannot be sustained because

 an award of punitive/exemplary damages under Texas Jaw, subject to no predetermined limit

such as a maximum multiple of compensatory damages or a maximum amount on the amount of

punitive/exemplary damages that may be imposed, would violate Defendant's due process rights

guaranteed by the Fifth and Fourteenth Amendments to the United States Constitution, would

violate Defendant's rights not to be subjected to an excessive fine in violation of the Eighth

Amendment to the United States Constitution, and would be improper under the common law

and public policies of the State of Texas, §§ 3 and 19 of the Texas Constitution. In addition,

Defendant asserts that any claims of the Plaintiff for punitive/exemplary damages against

Defendant should be proved beyond a reasonable doubt under the Sixth Amendment to the

United States Constitution, as opposed to a mere preponderance of the evidence.

        Defendant asserts that punitive/exemplary damages are barred by the due process and

excessive fines provisions contained within the United States Constitution and Article I, §§ 3 and

19 of the Texas Constitution.

        Defendant also asserts that claims for punitive/exemplary damages against Defendant

cannot be sustained because an award of punitive/exemplary damages in this case, combined

with   any prior,    contemporaneous,     or   subsequent judgment       against Defendant    for

punitive/exemplary damages arising out of Defendant's acts or omissions, would constitute

impermissible multiple punishments for the same wrong in violation of Defendant's due process

and equal protection rights guaranteed by the Fifth and Fourteenth Amendments to the United

States Constitution, and would constitute double jeopardy in violation of the common Jaw and

statutory law of the State of Texas, and Article I,§§ 3 and 19 of the Texas Constitution.




DEFENDANT METROPOLITAN LLOYDS INSURANCE
COMPANY OF TEXAS' ORIGINAL ANSWER- PAGE 2
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       Pleading further, Defendant specifically pleads that Plaintiff is not entitled to recovery of

exemplary damages absent a showing of fraud or malice or a willful act or omission of gross

neglect on the part of Defendant, pursuant to Tex. Civ. Prac. & Rem. Code Ch. 41.

       Defendant further alleges all of the terms and provisions of the policy of insurance issued

to the Plaintiff, including but not limited to the following policy provisions:

                                   COVERAGE A- DWELLING

        l.     Dwelling Owners. If your dwelling is a one, two, three or four family dwelling,
               we cover:
               A.      the dwelling owned by you on the residence premises; and
               B.      structures, equipment and accessories attached to the dwelling.
                       Swimming pools not fully enclosed within the dwelling are covered
                       under COVERAGE B- PRIVATE STRUCTURES.

                                               ***
                            COVERAGEC-PERSONALPROPERTY

       Personal Property Covered
       We cover personal property owned or used by you while it is anywhere in the world.

                                               ***

                                CAUSES OF PROPERTY LOSS
                               SECTION I- LOSSES WE COVER
                                    (SPECIAL PERILS)

       LOSS DEDUCTIBLE CLAUSE
       We will pay only when a loss exceeds the deductible amount shown in the Declarations.
       We will pay only that part of the loss over such stated deductible.

      COVERAGE A- DWELLING AND COVERAGE B- PRIVATE STRUCTURES
      We will pay for sudden and accidental direct physical loss or damage to the property
      described in Coverages A and B, except as excluded in SECTION I- LOSSES WE DO
      NOT COVER.

      COVERAGE C- PERSONAL PROPERTY
      We will pay for sudden and accidental direct physical loss or damage to the property
      described in Coverage C when loss or damage is caused by SECTION I - BROAD
      NAMED PERILS, except as excluded in SECTION I - LOSSES WE DO NOT
      COVER.




DEFENDANT METROPOLITAN LLOYDS INSURANCE
COMPANY OF TEXAS' ORIGINAL ANSWER- PAGE 3
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                            SECTION I- BROAD NAMED PERILS

      Whenever Broad Named Perils is referred to in this policy, the following causes of loss
      will apply for sudden and accidental direct physical loss.

      Under the named perils listed below, we do not cover loss or damage, no matter how
      caused, to the property which results directly or indirectly from fungus and mold. There
      is no coverage for loss which, in whole or in part, arises out of, is aggravated by,
      contributed to by acts or omissions of persons, or results from fungus and mold. This
      exclusion applies regardless of whether fungus and mold arises from any other cause of
      loss, including but not limited to a loss involving water, water damage or discharge,
      which may be otherwise covered by this policy, except as granted under SECTION I -
      ADDITIONAL COVERAGES for Fungus and Mold Remediation.

                                               ***
      2.     Windstorm or Hail
             We do not pay for loss to the interior of a building or to personal property inside,
             caused by rain, snow, sleet, sand or dust unless the wind or hail first damages the
             roof or walls and the wind forces rain, snow, sleet, sand or dust through the
             opening.
                                                   ***


                             SECTION I- LOSSES WE DO NOT COVER

      I.     We do not insure for loss caused directly or indirectly by any of the following.
             Such loss is excluded regardless of any other cause or event contributing
             concurrently or in any sequence to the loss. These exclusions apply whether or
             not the loss event results in widespread damage or affects a substantial area.

                                               ***
             D.      Water damage, meaning any loss caused by, resulting from, contributed
                     to or aggravated by:         ·

                     1.      flood, surface water, waves, tidal water or overflow of any body
                             of water, or spray from any of these, whether or not driven by
                             wind;

      3.     We do not cover loss or damage to the property described in Coverage A and
             Coverage B which results directly or indirectly from any of the following:

             A.      wear and tear, marring, scratching, aging, deterioration, corrosion, rust,
                     mechanical breakdown, latent defect, inherent vice, or any quality in
                     property that causes it to damage or destroy itself;




DEFENDANT METROPOLITAN LLOYDS INSURANCE
COMPANY OF TEXAS' ORIGINAL ANSWER- PAGE 4
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         Pleading further, Defendant would also assert that Plaintiff has failed to comply with the

 terms and conditions of the insurance policy issued by Metropolitan to the Plaintiff. Specifically,

 the subject insurance policy provides as follows:

                                    SECTION I - CONDITIONS


        2.      What you Must do After a Loss. We have no obligations to provide coverage
                under this policy if you or your representative fail to comply with the following
                duties and the failure to comply is prejudicial to us:

                A.      Promptly notify us or our representative.

                B.      Protect the property from further damage, make reasonable and necessary
                        repairs required to protect the property and keep a record of necessary
                        expenditures.
                C.      Cooperate with us in the investigation of a claim.

                E.      At any reasonable time and place we designate, and as often as we
                        reasonably require:
                        1.     show us the damaged property;
                        2.     submit to questions concerning the loss under oath while not in the
                               presence of any other person defined as "you", and sign and swear
                               to the answers; and


        Pleading further, Plaintiff failed to promptly repair the roof of the subject property and

based upon information and belief, has not performed necessary repairs to the property.

                                         III. JURY DEMAND

        Defendant demands trial by jury.

        WHEREFORE, PREMISES CONSIDERED, Defendant prays that the Plaintiff take

nothing against Defendant, and that Defendant go henceforth without day, with its costs, and for

such other and further relief, both at law and in equity, specific and general, to which Defendant

may show itself to be justly entitled.




DEFENDANT METROPOLITAN LLOYDS INSURANCE
COMPANY OF TEXAS' ORIGINAL ANSWER- PAGE 5
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                                            Respectfully submitted,

                                             ST~                C        DER, LLP

                                                  . /I
                                            By: / D~rtnis D. Conder
                                                                   ,j    v
                                                0S{ate Bar No. 04656400

                                            901 Main Street, Suite 6200
                                            Dallas, Texas 75202
                                            (214) 748-5000
                                            (214) 748-1421 FAX
                                            conder@stacyconder.com

                                            ATTORNEYS FOR DEFENDANT
                                            METRO PO LITAN LLOYDS INSURANCE
                                            COMPANY OF TEXAS

                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the        ~~Jt'cray of 0<0,1~t/             , 2016, a copy
of the foregoing was delivered via certified IJlail~etum          r~ceipt   requested, to Plaintiff's counsel
of record.                                 (         . /

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                                            B.~~~;l':>. Conder
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DEFENDANT METROPOLITAN LLOYDS INSURANCE
COMPANY OF TEXAS' ORIGINAL ANSWER- PAGE 6
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                                                                                            12/30/2016 2:39:12 PM
                                                                                                            Carla Cannon
                                                                                                 Hale County District Clerk
                                                                                                By~~~~




                                             December 15, 2016

 James Willis
 Daly & Black, P.C,
 2211 Norfolk St., Suite 800
 HO\lSton, Texas 77098

           RE:        Cause No. 1341337-1612; In the District Court of B:nle County, Texas; 242"d
                      District Conrt; Cynthia Doug/(IS v. Metropolitan Lloyds !tl:>lll'ance Compalty of
                      Texas
 Dear Mr. Willis:

       Enclosed please find a copy of Defendant Metropolitan Lloyds Insurance Company of
 Texas Original Answer which I h~ve filed in this case. .

         The plaintiff's lawsuit was filed on December 6, 2016, and served on Metropolitan
 Lloyds Insurance Company of Texas on December 9, 2016. Prior to being served witb the
 lawsuit, Metropolitan received yo\\r demand which was dated December 6, 2016. The plaintiff's
 lawsuit was filed on the same day that the plaintiff's demand Is dated, and thus prior to the
 required statutory 60 days from the date of the demand. Based upon this, I am requesting that
 you agree to abate the pending lawsuit for 60 days from Decetnber 6, 2016 until February 4,
 2017. I am also requesting that responses to any written dlscovery would be due 50 days after
 the expiration of the abatement period, Specifically, if you are in agreement, Defendant
 Metropolitan Lloyds Insurance Comp!llly of Texas responses to any written discovery served
 with the petition would be due on or before March 26, Z017.

        If you are in agreernent with my proposal, and in order to constitute a Rule 11 Agreement
 as provided for in the Texas Rules of Civil Procedure, please sign this letter where indicated
 below and retum it to me.

           With best regards, I am




 DDC/ab
 PAN/CRl'f/S 78129.1/001466.16951




 Attorney for Plaintiff
